                            EXHIBIT A




23-04496-mlo   Doc 1-2   Filed 12/22/23   Entered 12/22/23 10:48:19   Page 1 of 2
Exhibit A
                    Ark Laboratory, LLC
             One-Year Transfers to James Grossi
        April 13, 2022 - April 12, 2023 - One year Pre-Petition




Total for 51900 Dues & Subscriptions                  $       12,367.98
Total for 53750 Meals and Entertainment                           4,979.80
Total for 53751 Meals                                         22,044.56
Total for 53760 Entertainment                                 89,713.15
Total for 54200 Office Expense                                    8,572.15
Total for 56250 Travel                                            7,489.59
Total for 56750 Uncategorized Expense                             1,652.80
Total for 56980 Uniforms                                      10,304.57
Total for 69000 Unapplied Cash Bill Payment Expense           23,000.00
Total for 99999 Expense Reports                              433,462.13


                                                      $      603,282.16




       23-04496-mlo             Doc 1-2   Filed 12/22/23   Entered 12/22/23 10:48:19   Page 2 of 2
